                                                                                                             'j

Case 3:17-cv-00072-NKM-JCH Document 236 Filed 02/26/18 Page 1 of 4 Pageid#: 1469

                                                                               CLERKS OFFICEU S DISX COURT
                                                                                   ATGFM LOTTV VILE,VA
                                                                                           FILED

                              IJNITED STATESolsrrm cT colm '
                                                           r                           FEB 2'6 2218
                        FO R TH E W ESTERN DISTRICT O F W R G IM A                  JU     .
                                                                                                u& ,cuEM
                                    CharlottesvilleD ivision                       Bv;


   ELIZABETH SINES,etal.

          PlaintiFs,
                                                      CIVIL A CTION
   V.
                                                      FILE N O.:17-cv-00072-N KM
   JA SON KESSLER,etal.

          Defendants.


                  BRIEF IN SUPPORT OF M OTION TO QUASH SUBPOENA
          COM ES NOW non-partyDavid Duke (<Movanf')and filesthisBriefin Supportforhis
   MotiontoQuashSubpoena,pursuanttoRule45oftheFederalRulesofCivilProcedure,andwould
   show asfollow s:

                               A reum entand Citation ofAuthorities

          FederalRule ofCivilProcedure 45 governsthe issuance ofsubpoenas. To protectpartiesor

   non-partiesfrom potentialabuseofthe subpoenapow er,a federaldistrictcourtisem pow ered to F ant

   amotiontoquashormodifyasubpoena.Fed.R.Civ.P.45(c)(3).Thedecisiontoqu%hormodifya
   subpoena isw ithin the courfsdiscretion;thecourtisunderno obligation to em ploy the lesserrem edy

   ofmodificationbeforeitmayquash.Tiberiv.CignaIns.Co.,40F.3d110,112(5thCir.1994)(district
   courfs decision to quash and encotlrage party to file m ore narrowly drawn subpoena,rather than

   orderingmoditkationbycourt,waswithincourfssounddiscretion).
          Because Rule 45 doesnotprovideany specifctim eperiod forbriùging am otion to quash or

   m odify,courtshave required thatthe m otion bem ade beforethe date specified by the subpoena for

   compliance.InnomedLabs,LLC v.Alza Corp.,211F.R.D.237,240(S.D.
                                                               N.Y.2002)(motion to
Case 3:17-cv-00072-NKM-JCH Document 236 Filed 02/26/18 Page 2 of 4 Pageid#: 1470




   quash should be brought before noticed date ofdeposition commanded by subpoena);In re
   MotorsportsMerch.AntitrustLitig,186 F.R-D.344,350 (W .D.Va.1999)(amotion to quash
   subpoenatwomonthsafterperformancewasdueisuntimely);InReCam Publicationh 131B.R.556,
   558(S.D.N.Y.1991)(<smotiontoquashasubpoenamustbemadettatorbeforethetimespecifiedin
   thesubpoenaforcompliancetherewitlt'')'rhetimeforcompliancelistedonthesubpoenaisFebrualy
   26,2018,so thisM otion istim ely.

          Further,Rule45requiresobjectionstobeservedonthepartyseekingthesubpoenatEbefore
   the earlierofthe tim e specified for com pliance or 14 days afterthe subpoena is served.''F.
                                                                                              R .C.P.

   45(d)(2)(B).BecauseMovantwasservedwiththesubpoenaon oraboutJanuary31,2018,andthe
   timeforcomplianceisFebruary26,2018,hisobjectionsweredueonFebrtlary14,2018.Elordinarily,
   thefailuretomaketimelyobjectiontoasubpoenaducestecum pursuantto (Rule451wouldwaive
   anyobjectiom''InreMotorsportsMerch.s186F.R.D.at349.However,inttnusualcircumstnnces
   mzdforgoodcause...thefailuretoacttimelywillnotbarconsiderationofobjections.''Id.GGcourts
   fmdsuchunusualcircumstnceswhere:(1)thesubpoenaisoverbroadon itsfaceandexceedsthe
   boundsoffairdiscovery;(2)thesubpoenaedwimessisanon-party acting in good faith;and (3)
   counsel for w im ess and counsel for subpoenaing party were in contact concem ing the w itness'

   com pliance prior to the time the witness challenged legalbasis for the subpoena.''Concord Boat

   Corp.v.BrunswickCorp.,169F.R.D.44(S.D.N.Y.1996).
          Movanthasherewith servedobjectionstotheDocumentRequeststhatarethesubjectofthe
   subpoena. A copy ofsaidobjectionsisattached hereto.M ovant'suntimelyobjectionsshould be
   considered by thiscourt,becausethe subpoena isoverbroad on itsface,andw ould impose an undue

   burdenandasir ifkantexpenseonM r.Duke,anon-party.'rhecourtinAlexanderv.FBL 186F.R.D.
   21(D.D.C.1998)found thatcertain requestsin asubpoenaGGimplicateld)the factorssetforth in


                                                  2
Case 3:17-cv-00072-NKM-JCH Document 236 Filed 02/26/18 Page 3 of 4 Pageid#: 1471




   ConcordBoatandwarrantconsiderationoftheobjectionstiledinresponsetothedocumentrequests.
   . .   astim ely.''1d.at*34.ltbased thisruling on the factthatthe requestw as<cnotlim ited to m aterials

   thatm ay berelevantorleadtotheproduction ofadm issible evidencenorisitrestricted to therelevant

   tim eperiod.''ld.at*35.Likew ise,m any ofthe requests aim ed atM ovantarenotlim ited in scope or

   time period.Forinstance,DocumentRequestNo.12 seeks ttalldocumentsand com munications

   concerning any donationsreceived by you orany entityw ith whichyou aream liatedthatparticipated

   in orsupported the rally or eventin August 11,2017,in Charlottesville,Virginia.''Conspicuously

   m issing from thisrequestis a tim e w indow ofany kind.As w rittenothis requestencom passes any

   donationsreceived atany dme by M ovant.Even more blatantare Docum entRequestN os.13,and

   14.,whichseekçç(a111documentjbetweenyouandanyofthefollowing(15)individualsy''andç$(a)ll
   documentsandcommtmicationsto,from,orconcemingthefollowing (11)entities''respectively.
   Because the requests soughtin the subpoena are overbroad on theirface,and w ould im pose undue

   burdenandexpenseonMovant,anon-party,thisCourtshouldtreathisobjectionsastimely.
              BecausetheobjectionstotheSubpoena,aswellasthisM otion aretimely,thissubpoena
   should bequœshed becau
                        -se itplacesan undueburden on M ovant.Rule45 states:61On tim ely m otion,

   thecourtforthedistrictwherecomplianceisrequiredmustquashormodifyasubpoenathat:..(i)
   failstoallow areasonabletimeto comply;or...(iv)Subjectsapersontotmdueburden.''F.R.C.P.
   45(d)(3)(A).
              M ovmztdoeshundredsofhotlrsofradio program m ing every year.To require him to identify

   allinsuncesin which hem adem ention ofany ofthedefendantsin thelaw suitorany com m entsabout

   Charlottesville would require listening very closely for htmdreds ofholzrs and isunreasonable and

   impractical.M ovantisan intem ationally know n public figure and receiveshundredsofthousandsof

   em ails every year.M ovant's em ailclient alone has an astotmding 46 gigabytes of text data that
Case 3:17-cv-00072-NKM-JCH Document 236 Filed 02/26/18 Page 4 of 4 Pageid#: 1472




   M ovantusesin hisacadem icresearch.M ostem ailaddressesdon'thavetheperson'snam eorpersonal

   inform ation.M any tim es people write and don'tidentify them selves,so simply identifying and or

   attem pting to identify the defendant's em ailsorany convspondence is a task thatwould take m any

   lifetim esofeffort,and no search could identify the referencessoughtby plaintiffw ith any degree of

   certahzty.

          Rule 45 seeksto preventsuch an tm due burden on non-parties,ratherthan encourage it.For

   these reasons,thisCourtshould quash the subpoena directed atM ovant.

          W HEREFORE,David Duke,non-party,respectfully requeststhisCourtto p anthisM otion

   toQuashSubpoenaforthereasonsoutlinedherein.
          This23rdday ofFebruary,2018.
                                                       Respectfully subm itted,



                                                       David D uke
                                                       Pro Se
                                                       240 Garden Avenue
                                                       M andeville,LA 70471
                                                       (985)869-0720
                                                       ernestduke@hotmail.com




                                                   4
